                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 DANVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
               v.                                )            Criminal No. 4:18CR00011
                                                 )
DASHAUN LAMAR TRENT and                          )
SHABBA LARUN CHANDLER                            )
                                                 )
               Defendants.                       )


                GOVERNMENT’S RESPONSE TO DEFENDANTS’
          MOTION TO EXCLUDE FIREARMS AND BALLISTICS EVIDENCE

       The United States of America, by its undersigned counsel, hereby files this response in

opposition to Defendant Dashaun Trent’s Motion in Limine to Exclude Ballistic Evidence, or

Alternatively, for a Daubert Hearing (Docket No. 570), Defendant Dashaun Trent’s Objection to

Government Exhibit 324 (ECF No. 577); Defendant Dashaun Trent’s Objection to Government’s

Notice of Three Expert Witnesses (ECF No. 569); Defendant Shabba Chandler’s Motion to

Exclude Firearm Identification Evidence (ECF No. 581); and Defendant Shabba Chandler’s

Motion to Exclude Firearm Identification Evidence (ECF No. 612) (collectively, “the Motions”).

For the reasons stated below, the Motions should be denied.

                         BACKGROUND AND RELEVANT FACTS

       The United States alleges that, in the summer of 2016, members of the Milla Bloods street

gang and the Rollin 60s Crips street gang “tied the flag” in order to facilitate their criminal

activities in the Danville, Virginia area. Such concerted action included the attempted murders of

the “Philly Boys” at North Hills Court on June 15, 2016, and the later attempted murder of Justion

Wilson and murder of Christopher Motley at North Hills Court on August 20, 2016. The “tying

of the flags” was also discussed at a meeting on the day of or in the days immediately before the
Motley murder, at the residence of the “Big Homie” for the Rollin 60s Crips. All of these events

occurred in Danville, Virginia.

        On June 11, 2018, a federal Grand Jury indicted members and associates of the Rollin 60s

Crips street gang, and members and associates of the Milla Bloods street gang, on violations of

Title 18, United States Code, Section 1962 (Racketeer Influenced and Corrupt Organizations Act);

Title 18, United States Code, Section 1959 (Violent Crimes in Aid of Racketeering), and a variety

of other charges, including firearms and obstruction-related offenses. These cases are captioned

United States v. Davis, 4:18-cr-11, and United States v. Anthony et al., 4:18-cr-12. The Grand Jury

issued a First Superseding Indictment in United States v. Davis et al, 4:18-cr-11, on November 6,

2018.

        In order to establish the elements of the charged offenses, the government intends to offer

firearms and ballistic evidence collected from eight separate crime scenes in Danville and one in

Hyattsville, Maryland. These crime scenes include:

           •   December 9, 2015              Shooting at 177 Sunset Lane

           •   April 26, 2016                Shooting on Garland Street (approx. 1:20 a.m.)

           •   April 26, 2016                Shooting on Berryman Street (approx. 2:40 a.m.)

           •   June 15, 2016                 “Philly Boys” shooting at North Hills Court

           •   August 20, 2016               Murder of C. Motley at North Hills Court

           •   August 24, 2016               Shooting of Tyliek Conway

           •   November 2, 2016              Consensual Encounter

           •   November 4, 2016              Execution of SW at residence of Jaquan Trent

           •   April 29, 2017                Seizure of .40 caliber firearm by MNC Park Police
                                             in Hyattsville, MD




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         At trial, the government intends to introduce expert testimony from three experts in the

field of Firearms and Toolmark identification: Wendy Gibson, Courtney Etzelmiller, and Scott

McVeigh.

         Wendy Gibson is a Forensic Scientist Supervisor within the Firearm and Toolmark Section

of the Virginia Department of Forensic Science (“DFS”). Ms. Gibson will testify consistently with

the DFS reports and supporting documentation produced to the defense about the characteristics

of spent shell casings found at numerous crime scenes. The government anticipates that Ms.

Gibson will testify that certain bullets and spent shell casings found at one crime scene can be

associated with bullets, spent shell casings, or firearms recovered from other crime scenes. The

specifics of her anticipated testimony regarding confirmed associations are more fully detailed

later in this memorandum.

         Courtney Etzelmiller is also a Forensic Scientist within the Virginia Department of

Forensic Science’s Firearm and Toolmark section. Ms. Etzelmiller will testify consistently with

the DFS reports and supporting documentation produced to the defense about the characteristics

of a cartridge case that was found at the scene of the August 20, 2016, murder of Christopher

Motley. Specifically, she will testify that this casing was microscopically examined and found to

exhibit markings that made it suitable for identification with the firearm from which it was fired.

Further, it is anticipated that as a result of this determination, Ms. Etzelmiller entered an imageinto

the National Integrated Ballistic Information Network (“NIBIN”). 1 The specifics of her anticipated

testimony are more fully detailed later in this memorandum.

         Scott McVeigh is a Senior Firearm and Toolmark Examiner with the Prince George’s

County (Maryland) Police Department (“PGCPD”), Firearm Examination Unit. Mr. McVeigh will


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  “NIBIN” is a national database of digital images of spent bullets and cartridges that were found at crime scenes or
test fired from confiscated weapons. The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATFE) manages
the system.
                                                          3
testify consistently with the PGCPD reports and supporting documentation produced to the defense

counsel. Specifically, Mr. McVeigh will testify that the recovered casing from the Motley murder

that was examined by Ms. Etzelmiller and referenced in the preceding paragraph was fired from a

.40 caliber S&W pistol recovered in Hyattsville, Maryland by the Maryland National Capital Park

Police on April 29, 2017. The specifics of his anticipated testimony regarding the association of

the cartridge are more fully detailed later in this memorandum.

        The government is unaware of any court that has excluded toolmark examination expert

testimony under Daubert v. Merrell Dow Pharmas. Inc., 509 U.S. 579 (1993), or any other

standard. Because there is no scientific or legal basis to exclude the evidence the government

intends to offer, and because the proffered experts are fully qualified to offer their opinions, as

described below, the Motions should be denied.

        A. Overview of firearms and toolmark forensic examination 2

        Firearm identification has been a forensic discipline since the 1920s. See Hamby, J., “The

History of Firearm and Toolmark Identification,” The Association of Firearm and Tool Mark

Examiners (“AFTE”) Journal, Vol. 31(3), Summer 1999, pp. 266-84. Firearms identification is a

subset of the broader forensic discipline known as toolmark identification. Toolmark examiners

are trained to examine the marks left by tools on surfaces to associate or “match” a toolmark to the

particular tool that made the mark. Firearms are a subset of tools that impart marks; unlike most

other tools, they primarily impart marks                     on bullets and cartridge cases.                   See

AFTE.org/resources/swggun-ark, Foundational Overview of Firearm/Toolmark Identification.

        A firearm imparts different types of marks on the various components of a cartridge. With

respect to bullets, cuts within a gun barrel (“grooves”) and raised surfaces (“lands”) create

2
 This overview section is based primarily on a series of affidavits authored by firearms and toolmark expert Stephen
Bunch (formerly the Unit Chief with the FBI Firearms/Toolmark Unit, and formally with the Virginia Department of
Forensic Science), dated May 29, 2008, July 8, 2008, and June 5, 2009, in connection with Frye litigation in the
District of Columbia. Ms. Gibson has also reviewed this overview section.
                                                         4
corresponding depressed “land impressions” and raised “groove impressions” as bullets travel

through a barrel. The twist imparted on a bullet can be either left or right, depending on the

direction of the lands and grooves. With respect to cartridge casings, contact between the cartridge

and the breech create “breech face marks,” and the impact of the firing pin on the primer creates a

“firing pin impression” on the primer itself.        The working edges of tools, which include

components of firearms that contact ammunition, generally consist of some type of hard material,

such as steel, to ensure strength and durability of the tool, while work pieces are generally made

of softer materials. The surfaces of a tool that contact the material contain random, microscopic

irregularities that are produced during the tool’s manufacture or subsequent wear.            These

irregularities, which are formed randomly, can individualize or distinguish one tool from

another. Because these irregularities or individual characteristics are typically imparted onto the

work piece, the comparative study of the imparted markings allow the tool to be individually

associated or identified as having produced the mark. The presence, observation, and comparison

of these random toolmarks on tools form the hypothetical propositions upon which the discipline

of toolmark identification is based.

       Firearm and toolmark identification is based upon two testable propositions:

Proposition #1:

               Toolmarks imparted to objects by different tools will rarely if ever display
               agreement sufficient to lead a qualified examiner to conclude the objects
               were marked by the same tool. That is, a qualified examiner will rarely if
               ever commit a false positive error (misidentification).
Proposition #2:

               Most manufacturing processes involve the transfer of rapidly changing or
               random marks onto work pieces such as barrel bores, breech faces, firing
               pins, screwdriver blades, and the working surfaces of other common tools.
               This is caused principally by the phenomena of tool wear and chip
               formation or by electrical/chemical erosion. Microscopic marks on tools
               may then continue to change from further wear, corrosion, or abuse.


                                                 5
See Bunch et al., “Is a Match Really a Match? A Primer on the Procedures and Validity of

Firearm and Toolmark Identification,” Forensic Science Communications, Vol. 11(3), July

2009.

        Examiners are trained to recognize and evaluate the following characteristics: (1) class

characteristics; (2) subclass characteristics; and (3) individual characteristics.              Class

characteristics, such as caliber, number of land and grooves, etc., are predetermined during the

manufacturing process. For a fired bullet, class characteristics include the number of land and

groove impressions, the direction of twist of the land and groove impressions, and the width of the

land and groove impressions. For a fired cartridge case, class characteristics are typically limited

to the firing pin impression on the primer, which can appear in various shapes, including circular,

rectangular, hemispherical, and elliptical shapes, and to the shape of the firing pin aperture and the

type of breech face impression, which can be in different shapes and orientations, e.g., arched,

circular, parallel, etc. These are measurable features of a specimen that indicate a restricted group

source. They result from design factors and are determined prior to manufacture. See AFTE

Glossary, 6th ed.

        Subclass characteristics are more restrictive than class characteristics and are consistent

among items manufactured by the same tool in the same approximate state of wear. Id. These

characteristics typically exist within a particular production run in the manufacturing process and

occasionally arise from (1) imperfections in a machine tool that persist during the production of

multiple firearm components; or (2) extreme hardness differences between the machine tool and

the work pieces. Qualified examiners are trained to distinguish subclass characteristics from

individual characteristics because identifications may not be made from subclass characteristics.

        Individual characteristics, on the other hand, consist of microscopic, random imperfections

in the barrel or firing mechanism created by the manufacturing process, wear, corrosion, or abuse.

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One set of individual characteristics comprises unintended microscopic features that occur due to

the machining process and random chip formation during manufacturing.                     Individual

characteristics typically fall into two categories: (1) striated marks made by movement of a fired

bullet through a gun’s barrel (typically appearing as scratches or striations), and (2) impressed

marks that are pressed into a surface. A fired bullet usually has striated marks. A spent cartridge

case, on the other hand, can have both impressed and striated marks. Before firing, the process of

feeding the cartridge into the chamber can create striated marks. Once the firearm is fired, striated

marks also can be imparted to the cartridge case wall (side), and impressed marks are imparted to

the cartridge case by the gun’s firing pin and breech. With semi-automatic weapons, additional

marks can be made as the cartridge case is expelled from the gun. Marks produced by the random

imperfections or irregularities of tool surfaces are produced incidental to manufacture and/or

caused by use, corrosion, or damage. See AFTE Glossary, 6th ed. In general, the tool working

surfaces in a firearm can slowly change over time from wear and may leave different marks on

bullets and casings. As microscopic similarities diminish, the likelihood of an inconclusive result

increases, but the likelihood of a false positive should remain unchanged.

       Since the inception of firearms and toolmark identification as a forensic discipline, firearms

examiners have been using a method known as “pattern matching” to determine whether sufficient

similarity exists between toolmarks to warrant a conclusion that two bullets or two cartridge cases

came from the same firearm. In 1992, AFTE memorialized the Theory of Identification to explain

the basis of opinions of common origin in toolmark comparisons:


       1.      The theory of identification as it pertains to the comparison of toolmarks
               enables opinions of common origin to be made when the unique surface
               contours of two toolmarks are in “sufficient agreement.”
       2.      This “sufficient agreement” is related to the significant duplication of
               random toolmarks as evidenced by the correspondence of a pattern or
               combination of patterns of surface contours. Significance is determined by

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                 the comparative examination of two or more sets of surface contour patterns
                 comprised of individual peaks, ridges and furrows. Specifically, the relative
                 height or depth, width, curvature and spatial relationship of the individual
                 peaks, ridges and furrows within one set of surface contours are defined and
                 compared to the corresponding features in the second set of surface
                 contours. Agreement is significant when the agreement in individual
                 characteristics exceeds the best agreement demonstrated between
                 toolmarks known to have been produced by different tools and is consistent
                 with agreement demonstrated by toolmarks known to have been produced
                 by the same tool. The statement that “sufficient agreement” exists between
                 two toolmarks means that the agreement of individual characteristics is of
                 a quantity and quality that the likelihood another tool could have made the
                 mark is so remote as to be considered a practical impossibility.
          3.     Currently the interpretation of individualization/identification is subjective
                 in nature, founded on scientific principles and based on the examiner’s
                 training and experience.
Committee for the Advancement of the Science of Firearm & Toolmark Identification, “Theory of

Identification as it Relates to Toolmarks: Revised,” AFTE Journal, Vol. 43(4), Fall 2011, p. 287;

see also AFTE Criteria for Identification Committee: Theory of Identification, Range of Striae

Comparison Reports and Modified Glossary Terms—An AFTE Criteria for Identification

Committee Report, AFTE Journal, Vol. 24(3), 1992, pp. 336-40; and AFTE Glossary 6th Edition

at 136.

          The discipline of firearm and toolmark identification follows a recognized examination

methodology involving two phases of analysis. The first phase focuses on an objective

evaluation of the existing class characteristics. If they are similar, the examination moves to the

second phase involving the comparative microscopic evaluation of individual characteristics that

culminates in an opinion of sufficient agreement, which is subjective. The levels of analysis

firearm and toolmark examiners follow to determine a common source are outlined as follows:

          1.     Evaluation (Objective): The initial examination phase evaluates evidence
                 to determine if the observed class characteristics are the same between two
                 specimens (two unknown specimens, or an unknown and a known
                 specimen). If the specimens are suitable for examination and the class
                 characteristics are the same, then it is possible that the toolmarks were
                 produced utilizing the same tool (such as a firearm). If they are different,

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                  then the two specimens can be eliminated as having been produced by the
                  same tool.
         2.       Comparison (Subjective—Pattern Matching): If the class characteristics are
                  consistent between two specimens, then a comparative examination is
                  performed utilizing a comparison microscope. The methodology utilized in
                  the examination process is pattern matching. This comparison is conducted
                  to determine: 1) if any marks present are subclass characteristics and/or
                  individual characteristics, and 2) the level of correspondence of any
                  individual characteristics.
         3.       Conclusion: If sufficient agreement of individual characteristics is
                  observed between two specimens, an identification conclusion is rendered.
                  If all of the discernible class characteristics are the same, but sufficient
                  agreement of the individual characteristics is not observed, an inconclusive
                  result is rendered. 3 In some situations, an elimination conclusion may be
                  rendered based on observed differences in individual characteristics.
         4.       Verification: A verification process is employed to ensure proper
                  conclusions are rendered. As outlined in a laboratory’s quality assurance
                  policy, a mechanism should be in place to determine which cases will
                  require verification. Many laboratories, including Virginia Department of
                  Forensic Science and the Prince George’s County Police Department’s
                  Forensic Science Division, require verification of all identifications.
See afte.org/resources/swggun-ark/summary-of-the-examination-method.

         Using this methodology for examining toolmarked surfaces, there are four conclusions that

examiners reach when conducting an examination: (1) identification, (2) inconclusive,

(3) elimination, and (4) unsuitable for comparison. Examiners undergo standardized technical

training designed to develop the cognitive skills that allow them to recognize the patterns of

individual characteristics necessary to make an identification. However, there is no way to be

absolutely (100%) certain of any identification without comparing a particular set of marks to

marks created by every firearm produced since the invention of the modern day firearm—an

impossible endeavor. Thus, an examiner cannot rule out with absolute certainty the highly unlikely



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  The AFTE Glossary (6th Edition) describes three subcategories of inconclusive results: (1) Agreement of all
discernible class characteristics and some agreement of individual characteristics, but insufficient for an
identification; (2) Agreement of all discernible class characteristics without agreement or disagreement of individual
characteristics due to an absence, insufficiency or lack of reproducibility; (3) Agreement of all discernable class
characteristics and disagreement of individual characteristics, but insufficient for an elimination.
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event that two different firearms will produce indistinguishable individual characteristics. To date,

such an occurrence, however, remains theoretical.

        The field of forensic firearm and toolmark identification continues to undergo testing in

the form of (1) technical research; (2) validation studies; and (3) proficiency testing. Validation

studies are the most comprehensive way to test and validate firearms and toolmark identification

as a reliable forensic science. These tests involve “ground truth,” such that it is known with

absolute certainty where each of the test components came from. Using the same methods and

identification criteria as those in actual casework, qualified examiners have consistently reached

correct conclusions with exceptionally low error rates, as described further below. Even where

researchers have studied bullets and cartridge cases fired from consecutively manufactured

firearms—where the possibility of a false-positive conclusion is at its highest—trained examiners

readily have been able to distinguish marks produced by the various firearms.

        B. Testimony by firearms examiners

        Firearms evidence has been admitted in American courts for over a century. Over that

time, the manner in which firearms examiners articulate an identification of a cartridge case or

bullet to a known exemplar has been refined. Historically, many firearms examiners made

identifications in absolute terms to the exclusion of all others. However, as the firearms and

toolmark community evolved and embraced language that would not overstate the significance of

a firearms identification under the AFTE Theory of Identification, the manner in which the

significance of the identification is stated has evolved as well. In line with AFTE standards, the

caselaw described below, and former Attorney General Lynch’s memorandum of September 6,

2016, 4 the government does not intend to elicit an identification of absolute certainty or to have


4
  On September 6, 2016, then-Attorney General Loretta E. Lynch directed DOJ components to implement policies
designed to strengthen forensic practices, including the following:
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the experts in this case make identifications of a cartridge case or a bullet to a single firearm to the

certain exclusion of all other firearms. Moreover, the experts’ conclusions will not be qualified by

the expression “to a reasonable scientific certainty.” Instead, the government intends to elicit

testimony that will communicate the examiners’ conclusions to the jury without overstating or

understating the probative nature of his or her conclusions.

         C. Training and experience of the proffered expert witnesses

                  1.       Wendy Gibson, Forensic Science Supervisor

         Wendy Gibson is a Forensic Science Supervisor who specializes in firearms and toolmark

examination. She earned a Bachelor of Science degree in Chemistry from San Diego State

University in 1995 and a Master of Science in Criminal Justice Administration from Virginia

Commonwealth University in 2003. See Gibson Curriculum Vitae, EXHIBT A.

         Ms. Gibson has spent the majority of her post-undergraduate career in the Firearms and

Toolmark Identification Section of the Virginia DFS. Id. She began her program of training in

1992 with the Crime Laboratory of the San Diego, California Police Department. She became a

Forensic Scientist Trainee for the Virginia DFS in January 1996. Id. In September 1997, after

successfully completing DFS proficiency testing, she became a DFS firearms and toolmark

examiner. Id. In 2007, Ms. Gibson became a Forensic Scientist Senior, and in 2013 she became a

Forensic Scientist Supervisor, a position she holds today. Id.

         In 1996, Ms. Gibson joined the Association of Firearm and Tool Mark Examiners

(“AFTE”), the leading professional organization in the field, as a provisional member; she became


         Department forensic laboratories will review their policies and procedures to ensure that
         forensic examiners are not using the expressions “reasonable scientific certainty” or
         “reasonable [forensic discipline] certainty” in their reports or testimony. Department
         prosecutors will abstain from use of these expressions when presenting forensic reports or
         questioning forensic experts in court unless required by a judge or applicable law.
See November 6, 2016 AG Memo for Head of Department Components, available at
https://www.justice.gov/opa/file/891366/download, at 1.

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a full member in 1997. Id. Since 2011, and before conducting the examinations at issue here—

Ms. Gibson has been AFTE-certified in the fields of Firearm Evidence Examination and

Identification, Toolmark Evidence Examination and Identification. Id. Ms. Gibson became AFTE-

certified in Gunshot Residue Analysis in 2013. Id.

          DFS requires its examiners to complete annual proficiency tests administered by

Collaborative Testing Services, Inc., a leading forensic laboratory testing agency, in both firearm

and toolmark examination. Ms. Gibson has taken and passed both proficiency tests each year since

1997, having made no false positive identifications in any of them. She has conducted forensic

examinations of tens of thousands of cartridge cases/bullets and thousands of firearms. She has

testified as an expert in more than 160 state and federal cases, without ever being excluded as an

expert.

          Ms. Gibson has also participated in a number of research studies recounted in several of

the published articles cited below, including those by Fadul (2013), Baldwin (2014), and Hamby

(2009).

          Finally, Ms. Gibson has published numerous scholarly articles for the AFTE Journal,

presented at numerous conferences, and has served as an adjunct facility member for the Forensic

Science Graduate Program (Firearm & Toolmark course) at Virginia Commonwealth University.

Id.

                 2.     Courtney Etzelmiller

          Courtney Etzelmiller is a Forensic Scientist Senior in the Firearm and Toolmark Section

of the Virginia Department of Forensic Science. She has been a Forensic Scientist with that lab

since 2007. See Etzelmiller Curriculum Vitae, EXHIBT B. She obtained her Bachelors of Science

in Psychology from Nebraska Wesleyan University in 2001, and a Masters of Forensic Science,

with an emphasis in Forensic Psychology, from the same institution in 2005. Id. Prior to her

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employment with the Virginia DFS, she was a Forensic Fellow with the Firearm and Toolmark

Section at the Virginia Institute of Forensic Science and Medicine (June 2006-June 2007), and an

Intern at the Miami-Dade Medical Examiner Department (July 2003, July-August 2005). In their

Motions, the defense suggests that Ms. Etzelmiller is somehow unqualified to serve as an expert

in the field of firearms and toolmark identification because she holds a B.S. in Psychology and a

M.F.S. in Forensic Psychology rather than some other more relevant degree such as engineering.

Trent Motion, ECF 570 at 5. The government notes with some irony that Adina Schwartz, the

author of the law review article submitted by counsel, and on whose expert opinion defense would

like this court to rely, is far less credentialed in the field of Firearm and Toolmarks than the

government’s expert of which counsel is so critical. Dr. Schwartz has a B.A. in Philosophy, a Ph.D.

and a J.D. with no practical firearms and toolmark experience - not the background in metals and

engineering that counsel argues is necessary for any expert in this discipline. ECF. No. 570 at 5.

United States v. Taylor, Case No. 2:07cr1244, Docket No. 566 (Mem. Op. and Order Granting

U.S. Mot. to Exclude Expert Testimony of Adina Schwartz, Sept. 30, 2009). 5 In challenging Ms.

Etzelmiller’s credentials, Counsel ignores the specialized training Ms. Etzelmiller has had over the



5
  Even more significant, in the Memorandum Opinion excluding her “expert testimony” at trial, the Court noted of
Dr. Schwartz’s qualifications that she “…obtained a B.A. in Philosophy from Oberlin College in 1971, a Ph.D. from
the Rockefeller University in 1976, and a J.D. from Yale Law School in 1985. She is currently a professor of police
science and criminal justice administration at John Jay College of Criminal Justice at the City University of New
York…” Id. The court went on to note:

                 First, the Court finds that that Dr. Schwartz is not qualified by knowledge, skill,
                 training, education, or any other means to give opinion testimony in which she
                 disagrees (or agrees, for that matter) with the specific conclusions of the
                 Government’s firearms examiner in this case. As many other courts that have
                 had occasion to interact with Dr. Schwartz have noted, she is not a firearms
                 examiner. See, e.g. United States v. Monteiro, 407 F. Supp.2d 351 (D. Mass.
                 2006); United States v. Barnes, 04 CR 186, at *8 (S.D.N.Y. April 2, 2008)
                 (unpublished decision), Commonwealth v. Meeks, et al., Nos. 2002-10961,
                 2003-10575, 2006 WL 2819423, at *29-37 (Mass. Super. Sept. 28, 2006)
                 (unpublished decision). She has no experience in conducting firearms or
                 toolmark identification examinations, nor has she ever taken a proficiency test in
                 the field of firearm investigation; indeed she testified before this Court that she
                 has never fired a gun. Id.
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years to make her eminently qualified to serve as an expert, including: Matching for the Firearm

Examiner (2018), Cognitive Bias Training (2016); Subclass Characteristic Workshop (2015);

Ruger and Glock’s Armorer’s courses (2016, 2009, 2007); and the NIBIN Training Course (2007),

among others. EXHIBIT B. Additionally, she has served as an instructor at the Forensic Academy

for Law Enforcement Officers, Virginia Department of Forensic Science, in 2006-2008 and 2014

and has participated in a number of research studies. Id.

       Ms. Etzelmiller has testified on approximately 75 occasions from May 2008 to the present,

in federal court in the Eastern District of Virginia and numerous state courts without ever being

excluded as an expert. Id.

               3.      Scott McVeigh

       Scott McVeigh is a senior Firearm and Toolmark Examiner in the Prince George’s

County Police Department’s Forensic Science Division - Firearm Examinations Unit (“PGC-

FEU”). Mr. McVeigh has over 30 years of professional law enforcement experience, having

served as a patrol officer, detective, senior evidence technician, firearm evidence technician, and

crime lab coordinator (among other responsibilities) in addition to his current role. See McVeigh

Curriculum Vitae, EXHIBIT C. He has received extensive training in the field of forensics and

firearms, including from the AFTE, the U.S. Department of Justice (“DOJ”), and the firearms

manufacturers themselves. Id. Mr. McVeigh has been a member of AFTE for approximately

fifteen years. Id. He is a published author on the topic of firearms and toolmark examinations and

a frequent presenter at professional conferences. Id. Mr. McVeigh has been an instructor and

lecturer on the topic of firearm and toolmark identification at the ATFE National Firearms

Examiner Academy and Prince George’s County Community College, among others. Id. Mr.

McVeigh has worked on numerous criminal investigations and has testified 101 times over the

course of his career, mostly in state court. Like the other witnesses, the Government will seek to

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qualify Mr. McVeigh as an expert in this case based upon: (1) his ability to explain the theory

behind and steps involved in firearm identification; (2) his ability to describe the information and

evidence he has relied upon to formulate his opinions; (3) his ability to phrase, in laymen’s terms

the salient portions of his report for the benefit of jurors; (4) the notion that firearm identification

has proven to be accurate by law enforcement around the country and has been accepted by

federal courts as reliable evidence; and (5) the fact that he has been qualified and testified as an

expert in the field of firearm analysis numerous times.

        D. The DFS and Prince George’s Police Department Firearm Examination Unit

                1. The DFS laboratory

        DFS is an independent state agency created by statute. Va. Code Ann. § 9.1-1100. The

Director of DFS does not report to any local police department or federal agency. Id. (Director of

DFS acts “under the direction and control of the Governor”). The laboratory is accredited by

ANSI-National Accreditation Board (ANAB) (previously the American Society of Crime Lab

Directors Laboratory Accreditation Board) as meeting the requirements of ISO/IEC 17025:2005,

and has been so accredited since 1989. 6 DFS’s firearms and toolmarks training and procedures

manuals are publicly available. 7

        The laboratory’s policy, in line with AFTE guidelines, requires all identifications of

matches and all eliminations of matches based on individual characteristics to be verified by a

second examiner.




6
 See http://www.dfs.virginia.gov/about-dfs/accreditations/.
7
 See http://www.dfs.virginia.gov/wp-content/uploads/2017/09/240-D100-FX-TM-Procedures-Manual.pdf (2017);
http://www.dfs.virginia.gov/wp-content/uploads/2016/08/240-D200-FX-TM-Training-Manual.pdf (2016).
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               2. The Prince George’s County (MD) Forensic Sciences Division – Firearms
                  Examination Unit

       The Prince Georges County Forensic Sciences Division – Firearms Examination Unit

was established as a firearms examination laboratory in 1994. The laboratory has been

accredited by ANSI – National Accreditation Board (ANAB) (previously ASCLD-LAB)/ISO

17025 in Palmer Park, MD since 2008. The laboratory is also licensed by the Maryland

Department of Health. The Maryland Department of Health, through the Forensic Laboratory

Advisory Committee (FLAC), provides oversight for all laboratories that conduct work in the

state, investigates complaints, monitors proficiency testing, and all other activities associated

with licensure. The unit utilizes the National Integrated Ballistics Information Network (NIBIN)

database to enter cartridge cases into the system for correlation against images in an attempt to

link different crimes together.

       The laboratory’s policy, in line with AFTE guidelines, requires all identifications of

matches and all eliminations of matches based on individual characteristics to be verified by a

second examiner.

               3. Results reported in the DFS and PGC-FEU Certificates of Analysis in this
                  investigation

       The government has produced over a dozen Certificate of Analysis reports from DFS and

one from the PGCPD-FEU, most of them related to the firearms and toolmark analyses challenged

here. See EXHIBIT D. The analyses matched casings and firearms recovered from various crime

scenes in Danville. The analyses also matched a shell casing recovered from a murder scene in

Danville to a firearm recovered in Hyattsville, Maryland. The government anticipates eliciting

testimony from witnesses that these crime scenes are related in that they represent a pattern of

activity committed by, and on behalf of, the charged RICO enterprise of which these witnesses

were members and associates. The association of these crime scenes will serve as both independent

                                                 16
evidence of guilt as well as evidence corroborating the testimony of witnesses. The following chart

is a summary of the forensic results at issue:



 Crime Scene         Lab Item #     Description           COA Report Result (Examiner)
                                                          Lab #
 December 9,         1              Three (3) Tula        W15-11669  Identified as being
 2015: Shooting                     Cartridge Works                  fired in the same
 at 177 Sunset                      caliber 7.62                     firearm as Item 26
 Lane                               cartridge cases                  in the Berryman
                                                                     shooting (W.
                                                                     Gibson)
 December 9,         12             Eleven (11)           W15-11669  Identified as being
 2015: Shooting                     cartridge casings.               fired in the same
 at 177 Sunset                      One (1) Dynamic                  firearm as Item 82
 Lane                               Research Tech                    casing from the
                                    Brand and ten (10)               “Philly Boys”
                                    Remington brand                  shooting and Item
                                    caliber .45 auto                 11 casing from the
                                    cartridge cases.                 Jaquan Trent SW
                                                                     test fired firearm
                                                                     (W. Gibson)
 April 26, 2016      4F             Hornaday brand        W16-4792   Identified as having
 (1:20 a.m.)                        caliber 9mm Luger                been fired in the
 Shooting on                        cartridge case                   same firearm as
 Garland Street                                                      Item 70 of the
                                                                     “Philly Boys”
                                                                     shooting (W.
                                                                     Gibson)
 April 26, 2016      5              Four (4) Winchester   W16-4792   Identified as having
 (1:20 a.m.)                        brand caliber 40                 been fired in the
 Shooting on                        Smith & Wesson                   same firearm as
 Garland Street                     cartridge cases                  Item 23 from the
                                                                     Berryman Shooting.
                                                                     (Laura
                                                                     Hollenbeck/Verified
                                                                     by W. Gibson)
 April 26, 2016      23             Winchester brand      W16-4230   Identified as having
 (2:40 a.m.)                        caliber .40 Smith                been fired in the
 Shooting on                        and Wesson                       same firearm as
 Berryman Street                    cartridge case                   Item 8 of the “Philly
                                                                     Boys” shooting (W.
                                                                     Gibson)
 April 26, 2016      26             Tula Cartridge        W16-4230   Identified as having
 (2:40 a.m.)                        Works caliber                    been fired in the

                                                  17
Shooting on                    7.62.39 mm                       same firearm as
Berryman Street                cartridge case                   Item 1 of the 177
                                                                Sunset Lane
                                                                shooting (W.
                                                                Gibson)
Crime Scene       Lab Item #   Description           COA Report Result (Examiner)
                                                     Lab #
June 15, 2016:    8            Winchester brand      W16-6453   Identified as having
“Philly Boys”                  caliber .40 Smith                been fired in the
Shooting –                     and Wesson                       same firearm as
North Hills                    cartridge case                   Item 23 of the
Court                                                           Berryman Street
                                                                shooting (W.
                                                                Gibson)
June 15, 2016:    14           Winchester brand      W16-6453   Identified as being
“Philly Boys”                  caliber 9mm Luger                fired from Item 11
Shooting –                     cartridge case                   pistol from the
North Hills                                                     Consensual
Court                                                           Encounter (W.
                                                                Gibson)
June 15, 2016:    23           Speer brand caliber   W16-6453   Identified as being
“Philly Boys”                  9mm Luger                        fired from Item 11
Shooting –                     cartridge case                   pistol from the
North Hills                                                     Consensual
Court                                                           Encounter (W.
                                                                Gibson)
June 15, 2016:    68           Federal brand         W16-6453   Identified as having
“Philly Boys”                  caliber .40 Smith                been fired in the
Shooting –                     and Wesson                       same firearm as
North Hills                    cartridge case                   Item 4 of the
Court                                                           Consensual
                                                                Encounter (W.
                                                                Gibson)
June 15, 2016:    70           Federal brand         W16-6453   Identified as having
“Philly Boys”                  caliber 9mm Luger                been fired in the
Shooting –                     cartridge case                   same firearm as
North Hills                                                     Item 4 in the
Court                                                           Garland Street
                                                                shooting (W.
                                                                Gibson)
June 15, 2016:    82           Remington brand       W16-6453   Identified as having
“Philly Boys”                  caliber .45 Auto                 been fired in the
Shooting –                     cartridge case                   same firearm as
North Hills                                                     Item 11 of the
Court                                                           Jaquan Trent SW on
                                                                Parker Street (W.
                                                                Gibson)

                                             18
August 20,        2            .40 caliber shell      W16-8043   Identified as having
2016: Murder of                casing                            been fired from the
C. Motley –                                                      firearm Item 1 of
North Hills                                                      the Maryland Park
Court                                                            Police seizure (C.
                                                                 Etzelmiller)
Crime Scene       Lab Item #   Description            COA Report Result (Examiner)
                                                      Lab #
August 24,        N/A          N/A                    W16-8806   None
2016: Shooting
of Tyliek
Conway
November 2,       11           Diamondback 9mm        W16-10692      Item 11T (below)
2016:                          firearm, SN FA6517                    was test fired from
Consensual                                                           this firearm (W.
Encounter                                                            Gibson)
November 2,       11T          Ammunition             W16-10692      Identified as having
2016:                          components                            been fired in the
Consensual                     produced from test                    same firearm as
encounter                      firing Item 11 (Item                  Items 14 and 23 in
                               created at Western                    the “Philly Boys”
                               Laboratory)                           shooting (W.
                                                                     Gibson)
November 4,       11           Federal brand        W17-335          Identified as having
2016: Search of                caliber .45 Auto                      been fired in the
Jaquan Trent’s                 cartridge case                        same firearm as
Residence on                   (reported as test                     Item 12 of the
Parker Road                    fired in a Glock                      Sunset Lane and
                               model 30s pistol, SN                  Item 82 of the
                               XYW336)                               “Philly Boys”
                                                                     shootings (W.
                                                                     Gibson)
April 29, 2017:   1            Smith and Wesson       PGC-FEU: 17-   Identified as having
Seizure by                     brand,                 691-SCM        fired Item 2 in the
Maryland Park                  semiautomatic                         C. Motley murder
Police of .40                  pistol, caliber .40                   (S. McVeigh)
Caliber Firearm                S&W, Model
                               SD4OVE, SN
                               FYH4828, with one
                               compatible Smith &
                               Wesson brand
                               magazine having a
                               capacity of fourteen
                               (14) cartridges.




                                             19
       In addition to the above-noted Certificates of Analysis, the defense also has the notes,

photographs, diagrams, and other documents from the laboratory’s casefiles showing how the

examiners arrived at their reported results. Those items were produced by the United States and

are designated for trial as follows:

           •   DFS # W15-11669         Government’s Trial Exhibits: 14-23

           •   DFS# W16-4792           Government’s Trial Exhibits: 59-61, 65-68

           •   DFS# W16-4230           Government’s Trial Exhibits: 62-64, 69-72

           •   DFS# W16-6453           Government’s Trial Exhibits: 157-162

           •   DFS# W16-8043           Government’s Trial Exhibits: 231-233

           •   DFS# W16-8806           Government’s Trial Exhibits: 289-291

           •   DFS# W16-10692          Government’s Trial Exhibits: 309-315

           •   DFS#W17-335             Government’s Trial Exhibits: 319-322

           •   PGC-FEU 17-691          Government’s Trial Exhibits: 245-259



                                          ARGUMENT

       The defense argues that expert testimony regarding the toolmark analyses performed on

shell casings recovered during this investigation should be excluded completely. The defense has

not cited, and the government is unaware of, any court that has excluded similar testimony. Indeed,

the cases cited by the defense in support of its argument all allowed the challenged expert toolmark

testimony. See, e.g., United States v. Monteiro, 407 F. Supp. 2d 351, 364 (D. Mass. 2006) (noting

that no federal court has deemed firearm toolmark testimony inadmissible); United States v. Hicks,

389 F.3d 514, 526 (5th Cir. 2004) (“[w]e have not been pointed to a single case in this or any other

circuit suggesting that the methodology … is unreliable”). Every court that has considered a

challenge to the admission of expert testimony regarding toolmark examination of firearms,

                                                20
including motions to exclude under Daubert that cite the same 2009 NAS Report the defense relies

on here, have rejected those challenges and allowed the testimony. Courts that have examined the

five factors set out by the Supreme Court in Daubert have universally concluded that firearms

identifications based on the AFTE Theory of Identification described above should be admitted.

       The government would agree to limit the manner in which the degree of certainty in the

matches may be expressed. Specifically, the government agrees to limit the degree of certainty

expressed by the experts to “in his/or her expert opinion as a firearms and toolmark examiner”

without eliciting a specific certainty, unless otherwise directed by the Court.

       A. Firearms and toolmark analysis passes the Rule 702 test

       In Daubert, the Supreme Court provided a non-exhaustive list of factors to consider when

evaluating the admissibility of expert testimony under Rule 702, including whether a theory or

technique (1) has been or can be tested; (2) has a known or potential rate of error; (3) has been

subjected to peer review and publication; (4) has standards controlling the technique’s operation;

and (5) enjoys acceptance within the relevant scientific community. Daubert, 509 U.S. at 593-94.

Although Daubert was limited to scientific evidence, the Supreme Court later clarified that the

courts’ gatekeeping function applies not just to scientific testimony but to all expert testimony.

Kumho Tire Co. v. Carmichael, 526 U.S. 137, 141 (1999). In exercising their gatekeeping

function, courts must keep in mind the Supreme Court’s admonition that “vigorous cross-

examination, presentation of contrary evidence, and careful instruction on the burden of proof are

the traditional and appropriate means of attacking shaky but admissible evidence.” Daubert, 509

U.S. at 596.

       As discussed in numerous peer-reviewed studies, firearms and toolmark identification

satisfies each of the factors enumerated in Daubert. Given the extensive testing, peer-review, low

levels of error, and general acceptance throughout the world, every court to address the

                                                 21
admissibility of firearms evidence under this standard has ruled in favor of admitting firearms

evidence. E.g. Hicks, 389 F.3d at 526 (5th Cir. 2004); United States v. Santiago, 199 F. Supp. 2d

101, 111 (S.D.N.Y. 2002) (“The Court has not found a single case … that would suggest that the

entire field of ballistics identification is unreliable.”).

                  1. Testing the science of firearms identification

         The basic theory of firearms and toolmark identification—that firearms can impart

microscopic toolmarks on fired ammunition components, and that those toolmarks can be used to

identify a case or bullet to a particular firearm—was first documented over 100 years ago. 8 Since

that time, the profession has been engaged in observation, documentation, and testing of firearms

identification related topics. Id. Much of the research in the field has been published in peer-

reviewed journal articles. 9

         With the formation of AFTE in 1969 and the start of the AFTE Journal in 1972, more

studies were subjected to peer-review before publication. In addition to the AFTE Journal,

research articles are published in other peer-reviewed journals such as the Journal of Forensic

Science, Forensic Science International, and Science and Justice. The number of peer-reviewed

studies testing the principles of firearms and toolmark analysis are voluminous; a 2007 review by

Ronald Nichols highlights some of the past research. 10 Nichols’ review illustrates how the




8
  Hamby, J., “The History of Firearm and Toolmark Identification,” AFTE Journal, Vol. 32(3), Summer 1999,
pp. 266-84.
9
   An early example is the firearms identification research published by Biasotti in 1959. Biasotti studied bullets
fired through Smith and Wesson revolvers. The author performed statistical analysis after comparing striae between
matching and non-matching comparisons. He performed a total of 600 land and 600 groove impression comparisons
and used statistical analysis to characterize differences between bullets fired from the same gun versus bullets fired
from different guns. Biasotti, A., “A Statistical Study of the Individual Characteristics of Fired Bullets,” Journal of
Forensic Sciences, Vol. 4(1), January 1959, pp. 34-50.
10
   Nichols, R., “Defending the Scientific Foundations of the Firearms and Tool Mark Identification Discipline:
Responding to Recent Challenges,” Journal of Forensic Sciences, Vol. 52(3), May 2007, pp. 586-94.
                                                         22
profession has studied, characterized, and shared its findings.                  An additional summary of

foundational peer reviewed articles is hosted on AFTE’s website. 11

        Various forms of testing have provided objective data to support the fundamental principles

of firearms and toolmark identification. These efforts include studies showing the persistence of

markings over thousands of firings (allowing examiners to identify first to last cartridge

case/bullets fired from a firearm) 12,13 and studies of subclass characteristics to learn what type of

manufacturing methods are likely to cause such markings and to confirm that such characteristics

do not interfere with an examiner’s ability to distinguish cartridge cases and bullets fired from two

firearms despite the presence of subclass characteristics. 14,15,16,17,18,19,20 Thus, as even the cases

relied on in the Motion agree, the theory has been well tested and favors admissibility. United

States v. Otero, 849 F. Supp. 2d 425, 433 (D.N.J. 2012) (“The literature in the field of firearms

and toolmark identification documents that the theory has been repeatedly tested.”); United States

v. Taylor, 663 F. Supp. 2d 1170, 1175-76 (D.N.M. 2009) (noting that studies “demonstrating that

the methods underlying firearms identification can, at least to some degree, be tested and

reproduced”); Monteiro, 407 F. Supp. 2d at 369 (“[T]he existence of the requirements of peer



11
   AFTE Website, https://afte.org/resources/swggun-ark/testability-of-the-scientific-principle. The collection is
organized by topic: Firearms Identification-Bullets, Firearms Identification-Cartridge Cases, Firearm and Toolmark
Identification-Theoretical, Toolmark Identification, Fracture Matching and Emerging Research.
12
   Gouwe, J. et al., “Comparison of 10,000 Consecutively Fired Cartridge Cases from a Model 22 Glock .40 S&W
Caliber Semiautomatic Pistol,” AFTE Journal, Vol. 40(1), Winter 2008, pp. 57-63.
13
   Sarɩbey, A. et al., “An Investigation into Whether or Not Class and Individual Characteristics of Five Turkish
Manufactured Pistols Change During Extensive Firing,” J. Forensic Science, Vol. 54(5), Sept. 2009, pp. 1068-72.
14
   Churchman, J.A., “The Reproduction of Characteristics in Signatures of Cooey Rifles,” 1949, RMCP Gazette.
15
   Skolrood, R.W., “Comparison of Bullets Fired From Consecutively Rifled Cooey .22 Calibre Barrels,”
Can.Soc.Forensc.Sci. Vol. 8(2), 1975, pp. 49-52.
16
   Coody, A.C., “Consecutively Manufactured Ruger P-89 Slides,” AFTE Journal, Vol. 35(2), Spring 2003, pp. 157-
160.
17
   Matty, W., “Raven .25 Automatic Pistol Breech Face Tool Marks,” AFTE Journal, Vol. 16 (3), 1984, pp. 57-60.
18
   Biasotti, A., “Rifling Methods–A Review and Assessment of the Individual Characteristics Produced,” AFTE
Journal, Vol. 13(3), 1981, pp. 34-61.
19
   Rivera, G., “Subclass Characteristics in Smith and Wesson SW40VE Sigma Pistols,” AFTE Journal, Vol. 39(3),
Summer 2007, pp. 253-58.
20
   Lightstone, L., “The Potential for and Persistence of Subclass Characteristics on the Breech Faces of SW40VE
Smith and Wesson Sigma Pistols,” AFTE Journal, Vol. 42(4), Fall 2010, pp. 308-22.
                                                       23
review and documentation ensure sufficient testability and reproducibility to ensure that the results

of the technique are reliable.”); United States v. Diaz, 2007 WL 485967, at *6 (N.D. Cal. Feb. 12,

2007) (holding that “the theory of firearms identification, though based on examiners’ subjective

assessment of individual characteristics, has been and can be tested”).

               2. Known or potential error rate

       The firearms and toolmark profession has been proactive about testing examiner

performance with a variety of test designs and samples. These studies are often called “validation”

studies or “black box” studies and consist of examiners being given a series of samples known to

the researchers. The examiners then perform comparisons and report their findings, and the test

provider reports on the examiners’ performance, i.e., an error rate.

       Several validation studies have used “consecutively manufactured” samples, meaning

firearms that have been produced one directly after the other, on the same production line, using

the same tools. Such samples are most likely to have subclass characteristics (or toolmarks with

little change or variation from one machined part to the next) and thus have the greatest likelihood

of producing a false identification. Despite these “worst-case scenario” samples, peer-reviewed

research has consistently shown a low error rate. Although the import of these worst-case-scenario

validation studies was lost on the authors of the 2009 NAS Report, courts have appreciated the

significance of the studies on the reliability inquiry under Rule 702. See Otero, 849 F. Supp. 2d

at 432 (“Some of these ‘validation studies’ seek to validate the theory that one can individualize

tools, even when comparing marks made by tools of the greatest possible similarity, such as those

involved in the consecutive manufacture of various firearms of the same make.”) (citing Coody,

“Consecutively Manufactured Ruger P-89 Slides,” ATFE Journal, Vol. 35(2), Spring 2003, at 157;

Brundage, “The Identification of Consecutively Rifled Gun Barrels,” AFTE Journal, Vol. 30(3),

Summer 1998, at 438).

                                                 24
         The following is a non-comprehensive list of validation studies and the accompanying rate

of false positive results—i.e., an instance where an examiner made an affirmative “match” that

was incorrect:

                           STUDY                                        ERROR RATE

                           Brundage (1998)                              0% 21
                           Bunch & Murphy (2003)                        0% 22
                           De France (2003)                             0% 23
                           Smith (2005)                                 0% 24
                           Orench (2005)                                0% 25
                           Hamby (2009)                                 0% 26
                           Lyons (2009)                                 1.2% 27
                           Mayland (2012)                               1.6% 28
                           Fadul (2013)                                 0.064% Phase 1
                                                                        .18% Phase 2 29
                           Fadul (2013)                                 .7% 30
                           Baldwin (2014)                               1.01% 31
                           Stroman (2014)                               0% 32
                           Smith (2016)                                 0% (Bullets)
                                                                        .144% (Cases) 33

21
   Brundage, D.J., “The identification of consecutively rifled gun barrels,” AFTE Journal, Vol. 30(3), 1998, pp. 438-
44.
22
   Bunch and Murphy, “A comprehensive validity study for the forensic examination of cartridge cases,” AFTE
Journal, Vol. 35(2), 2003, pp. 200-03.
23
   DeFrance and Van Arsdale, “Validation study of electrochemical rifling,” AFTE Journal, Vol. 35(1), 2003,
pp. 35-7.
24
   Smith, E., “Cartridge case and bullet comparison validation study with firearms submitted in casework,” AFTE
Journal, Vol. 37(2), 2005, pp. 130-5.
25
   Orench, J., “A validation study of fracture matching metal specimens failed in tension,” AFTE Journal, Vol.
37(2), Spring 2005, pp. 142-49.
26
   Hamby et al., “The identification of bullets fired from 10 consecutively rifled 9mm Ruger pistol barrels: a
research project involving 507 participants from 20 countries,” AFTE Journal, Vol. 41(2), 2009, pp. 99-110.
27
   Lyons, D.J., “The identification of consecutively manufactured extractors,” AFTE Journal, Vol. 41(3), Summer
2009, pp. 246-56.
28
   Mayland B., Tucker, C., “Validation of Obturation Marks in Consecutively Reamed Chambers,” AFTE Journal,
Vol. 44(2), Spring 2012, pp. 167-69. One examiner reported three false identifications, and the remaining 63
examiners reported no false identifications (overall error rate of 1.6%).
29
   Fadul et al., “An empirical study to improve the scientific foundation of forensic firearm and tool mark
identification utilizing 10 consecutively manufactured slides,” AFTE Journal, Vol. 45(4), 2013, pp. 376-93.
30
   Fadul et al., “An empirical study to improve the scientific foundation of forensic firearm and tool mark
identification utilizing consecutively manufactured Glock EBIS barrels with the same EBIS pattern,” National
Institute of Justice Grant #2010-DN-BX-K269, December 2013.
31
   Baldwin et al., “A study of false-positive and false-negative error rates in cartridge case comparisons,” AMES
Laboratory, USDOE, Technical Report #IS-5207 (2014).
32
   Stroman, A., “Empirically determined frequency of error in cartridge case examinations using a declared double
blind format,” AFTE Journal, Vol. 46(2), 2014, pp. 157-75.
33
   Smith et al., “A Validation Study of The Bullet and Cartridge Case Comparisons Using Samples Representative of
Actual Casework,” Journal of Forensic Sciences, Vol. 61(4), 2016, pp. 939-46.
                                                         25
Each of the government’s proffered experts have participated in numerous studies over their

careers, including some of the studies noted above. Significantly, in the studies wherein individual

results were released to the participants, none of the proffered experts ever had a false positive.

        The district court in Otero discussed why it is most probative to focus on false positives

when considering error rates:

                The Court further finds that the error rate for false positives, as
                reported by the Grzybowski article, is pertinent to its assessment of
                the expert testimony in this case, as the proffered testimony would
                make such a positive identification of the guns recovered from
                Defendants as the origin of the bullet and shells recovered from the
                crime scene. Indeed, for the purposes of utilizing toolmark
                identification in legal proceedings, the critical validation analysis
                has to be the extent to which false positives occur.

849 F. Supp. 2d at 433 (citing Grzybowski et al., “Firearm/Toolmark Identification: Passing the

Reliability Test Under Federal and State Evidentiary Standards,” AFTE Journal, Vol. 35(2), Spring

2003). The above list of validation studies indicates that the firearms discipline continues to

conduct studies to research the number of false positive identifications, sometimes under worst-

case-scenario circumstances, and that trained examiners continue to demonstrate that the rate of

error for the field is quite low. United States v. Ashburn, 88 F. Supp. 3d 239, 246 (E.D.N.Y. 2015)

(“The court finds that due to the subjective nature of the inquiry, a definitive error rate is impossible

to calculate, but also finds that the error rate, to the extent it can be measured, appears to be low,

weighing in favor of admission of the expert testimony.”); Otero, 849 F. Supp. 2d at 434

(“information derived from … proficiency testing is indicative of a low error rate,”); Taylor, 663

F. Supp. 2d at 1177 (concluding that the error rate is “quite low”); Diaz, 2007 WL 485967, at *8

(concluding that due to the subjective nature of the methodology, “it is not possible to calculate an

absolute error rate for firearms identification,” but that “the government has provided enough data

to show that the error rates among trained firearms examiners are sufficiently low to counsel in

favor of admitting the evidence”).
                                                   26
        Finally, the accuracy of individual casework is enhanced through technical review of case

notes and through standard operating procedures that typically require all identifications to be

documented and then subjected to confirmation by a second examiner, as they were here. Because

firearms evidence is non-consumptive by nature, the internal laboratory quality assurance

programs are further enhanced by the fact that the defense has the opportunity for additional review

through independent testing if there is any reason to suspect that an error has occurred.

        The defense has pointed to nothing in the case at hand indicating any kind of error. The

firearms examiners have never had a false identification; their conclusions were peer-reviewed by

another trained firearms examiner before the reports were issued—or, in the instances where they

were not the first examiner, they themselves reviewed and approved the work of the first examiner.

                 3. Peer review

        Studies testing the foundational research of firearms and toolmark identification, and

examiners’ ability to reliably match a cartridge case or bullet to a particular firearm, have been

published in peer-reviewed scientific journals, including the AFTE Journal, 34 the Journal of

Forensic Science, Science and Justice, and Forensic Science International. Nearly all of the articles

cited herein are from peer-reviewed scientific journals. Courts have repeatedly held that the

methodology used by the field has been subjected to peer-review. Ashburn, 88 F. Supp. 3d at 246

(“The court finds that the AFTE methodology has been published and subject to peer review,

weighing in favor of admission ….”); Diaz, 2007 WL 485967, at *8 (“The fact that the articles

submitted to the AFTE Journal are subject to peer review weighs strongly in favor of admission.”);

Otero, 849 F. Supp. 2d at 433 (noting AFTE Journal’s formal process for the submission of




34
   The AFTE Journal and peer-review process is discussed in Denio, Dominic J., “The History of the AFTE Journal,
the Peer Review Process and Daubert Issues,” AFTE Journal, Vol. 34(2), Spring 2002, pp. 210-14.
                                                      27
articles); Taylor, 633 F. Supp. 2d at 1176 (finding the peer review factor “clearly weighs in favor

of admissibility.”). 35

                  4. Maintenance of standards and controls

         Standards and controls for the firearms and toolmark profession are published and

maintained in several foundational sources. AFTE has published the following standards for

professional guidance and use:

                  •AFTE Training manual: 166-page document outlining all steps a
                  new trainee should undertake prior to starting casework.
                  •AFTE Technical Procedures Manual: 116-page document
                  providing technical procedures for typical examinations that may
                  occur in firearms and toolmark identification laboratories.
                  •AFTE Glossary: 244-page document providing the profession with
                  standardized terminology and definitions.
                  •AFTE Theory of Identification 36: First published in 1992, the
                  Theory of Identification distills the essence of firearms
                  identification into several paragraphs. The Theory of Identification
                  describes the basis for an identification as well as the current
                  limitations of the profession. The theory has undergone revisions
                  and remains the agreed upon standard for identification by the
                  firearm and toolmark profession.
DFS and the PGC-FEU maintain their own Procedures Manual, which is based on the AFTE

Procedures        Manual        and      other      sources.           See      http://www.dfs.virginia.gov/wp-

content/uploads/2017/09/240-D100-FX-TM-Procedures-Manual.pdf.                            Accordingly, the field

maintains, and continues to develop, standards controlling the technique’s operation. See Otero,



35
   The Taylor court, in a separate order, also granted the government’s motion to exclude the testimony of Adina
Schwartz, Ph.D., as a proffered expert on the reliability of firearms identification. United States v. Taylor, Case
No. 2:07cr1244, Docket No. 566 (Mem. Op. and Order Granting U.S. Mot. to Exclude Expert Testimony of Adina
Schwartz, Sept. 30, 2009). The court noted that Dr. Schwartz, whose academic work the defense relies on in the
Motion, had never fired a gun. Id. at 5-6. Citing “serious criticisms, not just of Dr. Schwartz’s conclusions, but of
the integrity of her scholarship,” the court found that Dr. Schwartz’s academic opinion about the purported
unreliability of firearms identification was itself not sufficiently reliable under Rule 702, Daubert, and Kunho. Id. at
12-13.
36
   Committee for the Advancement of the Science of Firearm & Toolmark Identification, “Theory of Identification
as it Relates to Toolmarks: Revised,” AFTE Journal, Vol. 43(4), Fall 2011, p. 287.
                                                          28
849 F. Supp. 2d at 435 (“In sum, the Court concludes that the maintenance of industry-compliant

standards by the [New Jersey State Police] for conducting a firearms and toolmark identification

examination, and the adherence to those standards and procedures by [the examiner], further

support the reliability and therefore admissibility of the expert testimony.”).

        The maintenance of standards and controls is the Daubert factor some courts have found

lacking, even though all of them have gone on to admit the challenged testimony. Monteiro, 407

F. Supp. 2d at 371-72; United States v. Green, 405 F. Supp. 2d 104, 114 (D. Mass. 2005); United

States v. Glynn, 578 F. Supp. 2d 567, 572 (S.D.N.Y. 2008). Importantly, nothing in hundreds of

peer-reviewed journal articles to date has invalidated the foundational premise that a trained

examiner can reliably identify a cartridge case/bullet to a particular gun or a case to another case.

In other words, even though a degree of subjectivity is embedded in the methodology—as it is in

other forensic disciplines—current research provides objective empirical support for this work.

And, as noted above, the government does not intend to elicit a statement from its experts that their

conclusions are to a “reasonable degree of scientific certainty” or to any precise statistical

certainty.

               5. General acceptance

        Numerous courts have held that the AFTE theory of firearms and toolmark identification

methodology is widely accepted. Ashburn, 88 F. Supp. 3d at 247; Otero, 849 F. Supp. 2d at 435;

Taylor, 663 F. Supp. 2d at 1178; see also Jones v. United States, 27 A.3d 1130, 1137 (D.C. Ct.

App. 2011) (holding that toolmark comparison matching “remains widely accepted” in the

“relevant scientific community”). The defense has not pointed to any case holding that the AFTE

theory is not generally accepted.




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        B. 2009 NAS Report

        Regarding the 2009 NAS Report, the District of Columbia Court of Appeals noted that

“even after considering it, we are still unpersuaded that pattern matching is no longer generally

accepted.” Jones, 27 A.3d at 1137 n.7. Soon after, in Thomas v. United States, the same court

held:

               In challenging the general acceptance of firearms and toolmark
               identification, [appellant] relies primarily on [the 2009 NAS Report]
               – a broad-based report, commissioned by Congress, examining a
               variety of forensic disciplines, not just firearms and toolmark
               identification. [Appellant] relies on language in the report, which
               challenges the lack of statistics, “lack of sufficient studies,” and
               “lack of a precisely defined process” as evidence that firearms and
               toolmark identification[s] are no longer generally accepted or, in
               fact, not “science” at all. [Appellant], however, confuses a single
               scientific report, which reaches no definitive conclusion and which
               includes no independent examination of the challenged
               methodology, with general discord in the scientific community. We
               therefore reject [appellant’s] reliance on the [2009] NAS Report.

               Expert testimony of firearms and toolmark examiners has been
               admissible in this court for decades – in fact, only a decade shy of a
               century. Beyond the criticisms and suggestions for more research
               raised in the [2009] NAS Report, [appellant] has presented nothing
               showing that the expert testimony of firearms examiners is not
               “based on a scientifically sound methodology, as determined by
               members of the relevant scientific community.”

Case Nos. 09-CF-1572, 09-CF-1584, 09-CF-1585, Mem. Op. & Judgment, at 4-5, available at

https://afte.org/uploads/documents/swggun-usvthomas.pdf.

        After issuance of the 2009 NAS Report, state and federal courts continued to admit firearms

and toolmark evidence under Daubert and Rule 702. Ashburn, 88 F. Supp. 3d at 247 (holding that

firearms and toolmark identification is a proper subject of expert testimony under Rule 702 and

Daubert after considering the 2009 NAS Report); United States v. Casey, 928 F. Supp. 2d 398,

400 (D. Puerto Rico 2013) (same); Ohio v. Langlois, 2 N.E.3d 936, 950 (Ohio Ct. App. 2013)

(firearms and toolmark identification satisfies the test for reliability under Rule 702); Otero, 849

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F. Supp. 2d at 438 (essential foundations for the admission of expert testimony under Rule 702

established by the government); United States v. Willock, 696 F. Supp. 2d 536, 568 (D. Md. 2010);

Taylor, 663 F. Supp. 2d at 1180 (“The evidence before the Court indicates that when a bullet is

fired from a gun, the gun will impart to the bullet a set of markings that is, at least to some degree

unique to that gun. The evidence further indicates that an experienced firearms examiner can make

observations of those markings, using a method that has been peer-reviewed, that allow him, in

some cases, to form an opinion that a particular bullet was or was not fired from a particular gun.

The court therefore concludes that the firearms identification testimony is admissible under Rule

702 and Daubert.”); State v. Lee, 2017 WL 1494012, at *10 (La. Ct. App. Apr. 26, 2017) (“[E]ven

after publication of the NAS Report, courts have addressed, in detail, the reliability of [firearms

and toolmark identification] testimony and ruled it admissible, although to varying degrees of

specificity.”); Spears v. Ryan, 2016 WL 6699681, at *5 (D. Ariz., Nov. 15, 2016) (“[T]he NAS

Report would have had no effect on the admissibility of the toolmarks evidence in this case.”);

Napier v. Commonwealth, 2014 WL 3973113, at *9 (Ky. Ct. App., Aug. 15, 2014) (noting that it

was not the purpose of the 2009 NAS Report to opine on the long-established admissibility of

toolmark and firearms testimony in criminal prosecutions and that there was no error in taking

judicial notice of scientific reliability of ballistic analysis under Daubert); United States v.

Sebbern, 2012 WL 5989813, at *8 (E.D.N.Y. Nov. 30, 2012) (no need for a Daubert hearing before

admitting ballistics evidence); United States v. Cerna, 2010 WL 3448528, at *5 (N.D. Cal. Sept.

1, 2010) (the NAS report “does not necessitate exclusion of expert [ballistics] testimony.”).

       So as not to overstate the certainty of an identification, the firearms examiners will refrain

from expressing their identification in terms of absolute certainty. Further, in the case of the match

of a casing to a firearm, neither Wendy Gibson or Scott McVeigh will not state or imply that the

identification is being made to the exclusion of all other firearms in the world. Furthermore,

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consistent with the directive of former Attorney General Loretta Lynch, the government will not

elicit a statement that the firearms examiner’s conclusions are held “to a reasonable degree of

scientific certainty.”

        Considering that firearms examiners have for decades proven their ability to distinguish

toolmarks fired by guns manufactured next to one another on the assembly line, the proposed

testimony is conservative.

        C. Cases in which a toolmark examiner’s testimony was further limited are readily
           distinguishable

        None of the cases relied on in the Motion excluded the challenged expert testimony, and

most of the cited cases allowed testimony about the strength of the examiner’s conclusion in some

variation of the formulation “to a reasonable degree of certainty in the ballistics field.” See Otero,

849 F. Supp. 2d at 429; Taylor, 663 F. Supp. 2d at 1179; Monteiro, 407 F. Supp. 2d at 355; Diaz,

2007 WL 485967, at *1. In several distinguishable cases, though, the court placed further

limitations on the expert’s testimony. See Glynn, 578 F. Supp. 2d at 575 (limiting degree to which

certainty could be expressed to “more likely than not”); Green, 405 F. Supp. 2d at 108-09 (expert

“may only describe and explain the ways in which the earlier casings are similar to the shell casings

test-fired from the … pistol found a year later”); Willock, 696 F. Supp. 2d at 546 (imposing a

complete restriction on the characterization of certainty).

        Green and Willock, however, involved forensic examination shortcomings not present

here. In Green, the Boston Police Department forensic examiner had performed his work five

years prior and had not taken notes, photographs, or measurements, or followed protocols for

toolmark examination generally; he also was not certified by AFTE or any other organization. 405

F. Supp. 2d at 108-09. In Willock, the testifying examiner’s conclusions relied on an examination

conducted by a different examiner, “whose qualifications, proficiency and adherence to proper

methods are unknown.” 696 F. Supp. 2d at 546, 573-74. That fact led the court to “depart[] from
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recent cases in which firearm and toolmark examiners have been permitted to state their opinions

to ‘a reasonable degree of certainty in the ballistics field.’” Id. (quoting Diaz, 2007 WL 485967,

at *4). 37    The problems outlined in Green and Willock are not present here. One of the

government’s proffered experts, Wendy Gibson, is an AFTE-certified firearms and toolmark

examiner, and both Gibson and Etzelmiller are certified by the Commonwealth of Virginia. Both

work in a certified and independent state laboratory who performed or verified each of the

examinations themselves, followed DFS and AFTE protocols, and documented their examinations

with the requisite notes and diagrams. Government’s expert Scott McVeigh has over thirty years

of professional law enforcement experience, having served as a patrol officer, detective, senior

evidence technician, firearm evidence technician, and crime lab coordinator. He has been a

member of AFTE for over fifteen years, but lacks official certification because he does not have a

college degree. It is anticipated, by the time of the Daubert hearing he will be a designated a

“Distinguished Member” of the AFTE. Further, he is a published author on the topic of firearms

and toolmark examinations and a frequent lecturer and instructor in this field. Like Gibson and

Etzelmiller, he works in a certified and independent laboratory and performed the examination at

issue, followed PGC-FEU and AFTE protocols, and documented his examinations with the

requisite notes and diagrams

         Additionally, Willock is not the only reported case in this circuit in which casings were

matched to each other without a gun. In United States v. Foster, 300 F. Supp. 2d 375, 376 (D. Md.

2004), Judge Blake rejected a Rule 702/Daubert challenge to expert toolmark testimony matching



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   During the trial in Willock, appealed sub nom. United States v. Mouzone, the examiner testified that the casings at
issue were “fired from the same firearm,” and also stated that “the chances of that happening in a random fashion on
two different surfaces, there comes a point where it’s a practical impossibility…. That’s when I’m convinced that
these two [cartridge cases] were marked by the same surface.” 687 F.3d 207, 216 (4th Cir. 2012) (alteration in
original). The Fourth Circuit held that any violation of the district court’s order restricting the scope of the expert’s
testimony was harmless and affirmed the verdict. Id. at 216-17. The Mouzone court did not address the merits of
the district court’s Daubert ruling.
                                                           33
spent cartridge casings where no known weapon was recovered. Noting that “[i]n the years since

Daubert, numerous cases have confirmed the reliability of ballistics identification,” the court held

that the “science of ballistics” was generally reliable, “even where there is no ‘known’ weapon

recovered,” and declined to impose any restriction on the expert’s testimony. Id. at 376 & n.1.

       Judge Rakoff’s opinion in Glynn is an outlier. Several courts have explicitly rejected its

limitation on the degree of certainty with which the expert’s opinion could be given to “more likely

than not.” As numerous courts have held, that formulation inappropriately understates the degree

of certainty with which qualified firearms and toolmark examiners reach their conclusions. In

Casey, the court credited a sworn statement that “greatly undermine[d] the portions of the 2008

NAS report” on which Glynn relied and declined to impose a similar limitation on the expert’s

testimony. 928 F. Supp. 2d at 399-400. The court in Ashburn likewise rejected the limitation

imposed in Glynn, stating that it “is correct that an experienced ballistics expert is qualified to say

more than ‘it is more likely than not’ that there is a match.” 88 F. Supp. 2d at 249 n.4; see also,

e.g., United States v. Johnson, Case No. 14-CR-412, 2015 WL 5012949, at *5 (N.D. Cal. Aug. 24,

2015) (“This Court will not require [the firearms expert] to qualify her expert opinion with the

rigid disclaimer that the match is ‘more likely than not,” as such a specific restriction seems

arbitrary. However, should [the firearms expert] testify at trial that the items matched with

‘absolute certainty,’ or to some other arbitrary degree of statistical certainty, the Court will take

the necessary steps to strike such improper testimony immediately.”); Cerna, 2010 WL 3448528,

at *5 (N.D. Cal. Sept. 1, 2010) (noting that the standard in Glynn, where the expert was only

permitted to state that a bullet or casing “more likely than not” came from a particular firearm, “is

not appropriate as it suggests that the expert is no more than 51% sure that there was a ‘match.’”).




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       D. The Governments’ Expert Witness Disclosures Comply with Federal Rule of
          Criminal Procedure 16(d)(2)(C)

       Rule 16 of the Federal Rules of Criminal Procedure establishes three disclosure

responsibilities relevant to forensic evidence. First, under Fed. R.Crim. P. 16(a)( l)(F), the

government must, upon request of the defense, turn over the results or reports of any scientific

test or experiment (i) in the government's possession, custody or control, (ii) that an attorney for

the government knows or through due diligence could know, and (iii) that would be material to

preparing the defense or that the government intends to use at trial. Second, under Fed. R. Crim.

P. 16(a)( l)(G), if requested by the defense, the government must provide a written summary of

any expert testimony the government intends to use at trial. At a minimum, this summary must

include the witness's opinions, the bases and reasons for those opinions, and the expert's

qualifications. Third, under Fed. R. Crim. P. 16(a)(l )(E), if requested by the defense,

the government must produce documents and items material to preparing the defense that are in

the possession, custody, or control of the government. This may extend to records documenting

the tests performed, the maintenance and reliability of tools used to perform those tests, and/or

the methodologies employed in those tests.

       The defense motion argues that the government has failed in its obligations under Rule 16.

A review of the government’s expert witness disclosure and documents suggests otherwise.

       In the Notice of Expert Witness and subsequent Amended Expert Notice(s), the

government provided the following information:

           •   The relevant Certificate of Analysis outlining the conclusion of each expert and a

               representation that each witness would testify consistently with the opinions and

               conclusions set forth in each Certificate of Analysis. (ECF Nos. 532, 538, 541, 664,

               665). Each certificate outlined the item examined and the results of the

               examination. Id.
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           •   A statement that the bases for each expert’s opinions and conclusions included their

               training and experience, lab reports and lab notes. Id. Defense was further advised

               that a copy of all the lab reports and lab notes had previously been disclosed in

               discovery. Id.

           •   A copy of the Curriculum Vitae for each expert witness. Id.

           •   An invitation to each counsel to meet with each or all of the expert witnesses prior

               to their testimony in court. Id.

       As noted previously in this Response, the referenced exhibits which formed the bases for

the expert’s opinions/conclusions were clearly marked in discovery as “FS Lab” and further

separated by incident for ease of review. Each “FS Lab” file which provided to the defendants

included: (1) Requests for Lab Examinations (RFLE), (2) Case Worksheets (notes taken

contemporaneously with examination), (3) IBISTRAX Exhibit Information (i.e. information

from the NIBIN system indicating a “potential match” of casing to casing or casing to firearm),

and (4) images of the casings taken during the examination. There is simply nothing more in the

government’s possession as it relates to these experts and their opinions and conclusions to turn

over. The government has identified the expert, identified the conclusion the expert reached,

identified each of the relevant Certificates of Analysis, and provided each of the supporting

examination documentation (i.e. lab notes and images). All the necessary information has been

provided to counsel timely and as required under Rule 16. The defendants’ objection to the

government’s expert notice is one of form over substance; the defendants are essentially arguing

that the notice is deficient because the government incorporated certain documents into its expert

notice instead of typing the language of the reports and lab notes into the notice itself. The best

evidence that the government’s expert notice was sufficient and appropriate are the detailed



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objections and arguments the defendants’ have made against the experts’ bases and conclusions

in their Daubert filings. The expert notices meet the Rule 16 requirements. 38



        E. The defense already has the additional documentation it seeks, and nothing
           prevents the defense from conducting an appropriate cross-examination.

        The defense has in its possession hundreds of pages of casefile materials related to the

individual Certificate of Analysis reports that were initially produced. Those casefile materials

document, among other things, the types of toolmarks identified; the particular lands and grooves,

and inclination of lands and grooves, found on the examined bullets; and the examiner’s notes

regarding each examined item that support the matches at issue. That documentation, which is

required by DFS and PGC-FEU policy to be created and maintained as part of the examination

process, ensures among other things that the defense has what it needs to conduct an appropriate

cross-examination of the expert.

                                               CONCLUSION

        For the reasons stated above, the Motions should be denied.



                                                    Respectfully submitted,

                                                    THOMAS T. CULLEN
                                                    UNITED STATES ATTORNEY

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38
   The government’s other expert notices proceed in the same formula, by providing copies of the experts’ reports
and CV, and incorporating the supporting lab notes and materials. However, none of the defendants challenge these
notices.
                                                       37
E-Mail Address: Ron.Huber@usdoj.gov




  38
                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 26th day of August, 2019, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will send a notification of

such filing (ECF) to all counsel of record.




                                              /s/ Ronald M. Huber
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                                                39
